Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 1 of 8

SETTLEMENT AGREEMENT AND
GENERAL RELEASE OF ALL CLAIMS

RECITALS:

This Settlement Agreement and General Release of All Claims (“Agreement”) is made by
and between Luis A Ortiz and Kelvin X. Vargas (collectively “Plaintiffs” and each individually
“Ortiz” or “Vargas”) and Valley Crest Landscape Maintenance Inc., its successors, managers,
employees, officers, investors, affiliates, subsidiaries, agents, assigns, executives, Board of
Directors, shareholders, attorneys and insurers (collectively referred to herein as the “Company”)
(Plaintiffs and the Company are collectively referred to herein as the “Parties” or singularly
“Party”).

WHEREAS, Plaintiffs acknowledge payment in full and receipt of all monies owed to them
by the Company prior to the signing of this agreement (e.g., wages, bonuses and business expense
reimbursements);

WHEREAS, Plaintiffs both were previously employed by the Company in 2015 and are no
longer employed by the Company;

WHEREAS, Plaintiffs initiated a lawsuit entitled Luis A. Ortiz, Kelvin X Vargas, and other
similarly-situated individuals, Case No. 1:15-cv-24547-UU filed in the United States District
Court Southern District of Florida, Miami Division (hereinafter, “Claim”);

WHEREAS, in exchange for the payments described below, Plaintiffs release the Company
from any claims arising from or related to the employment relationship;

WHEREAS, Plaintiffs have agreed to resolve any and all disputes, claims, complaints,
grievances, charges, actions, petitions and demands that Plaintiffs may have, including, but not
limited to, any and all claims arising or in any way related to Plaintiffs’ employment with the
Company arising out of, or related to, any events occurring prior to the execution of this Settlement
Agreement;

WHEREAS, Plaintiffs also understands that in order to receive the payments under this
Agreement, Plaintiffs must sign and return this Agreement to Gena Ashe, counsel for the
Company, at 2275 Research Blvd, Suite 600, Rockville, MD 20850.

NOW, in consideration of the promises made herein, the Parties hereby agree as follows:
AGREEMENT:

1. No Admission of Liability. This Agreement and compliance with this Agreement
is not, and shall not be construed as, an admission by the Company of any liability or wrongdoing
whatsoever, or as an admission by the Company of any violation of the rights of Plaintiffs or of
any other person, or the violation of any order, law, statute, regulation, duty, or contract. The
Company specifically disclaims any liability to Plaintiffs or any other person for any alleged
Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 2 of 8

violation of the rights of Plaintiffs or any person or for any alleged violation of any order, law,
statute, duty, or contract.

2. Consideration.

(a) In consideration for the release of all claims as set forth below and other
obligations under this Agreement, and upon Plaintiffs’ delivery of a signed Agreement to Gena
Ashe as indicated above, the Company will cause to be delivered to and payable to Plaintiffs’
attorney trust account, Zandro E. Palma P.A., Trust Account, at 9100 S. Dadeland Blvd., Suite
1500, Miami, FL 33156 a check in the total gross amount of $8,145.00, which amount is inclusive
of attorney fees, to be held in trust for the benefit of Plaintiffs and for which a W-9 will be issued.
The check will be delivered within ten (10) business days of the Effective Date of this Agreement.

(b) Plaintiffs agree that the foregoing payments shall constitute the entire
amount of monetary consideration provided to Plaintiffs under this Agreement and that Plaintiffs
will not seek any further compensation for any claimed damages, costs or attorney’s fees in
connection with the matters encompassed in this Agreement.

3. Tax Indemnification. Plaintiffs acknowledge and agree that the Company has made
no representations or warranties regarding the tax consequences of any amounts paid by the
Company to them pursuant to this Agreement. Plaintiffs agrees to pay all federal or state taxes
owed by them, if any, which are required by law to be paid with respect to the payments herein.
Plaintiffs further agree to indemnify and hold the Company harmless from any taxes owed by
Plaintiffs, including interests or penalties owed by Plaintiffs, on account of this Agreement.
Plaintiffs further agree to reimburse Company for any attorneys’ fees and costs incurred by
Company as a result of having to obtain indemnification under this Agreement.

4, Voluntary Dismissal. Plaintiffs agree to voluntarily dismiss with prejudice the
aforementioned Claim (Luis A. Oritz, Kelvin X. Vargas, and other similarly-situated individuals,
Case No. 1:15-cv-24547-UU) upon execution of this Agreement.

5. Effective Date. The “Effective Date” is the date Plaintiffs sign this Agreement.

6. Non-Disclosure of Confidential and Proprietary Information. Plaintiffs agree to
continue to maintain the confidentiality of all confidential and proprietary information of the
Company. In accordance with applicable state and federal law, Plaintiffs shall not divulge, furnish
or make available any confidential information, trade secrets, patents, patent applications, price
decisions or determinations, inventions, customers, proprietary information or other intellectual
property rights of the Company, until after such time as such information has become publicly
known other than by disclosure or collusion of Plaintiffs.

7. Payment in Full. Plaintiffs acknowledge and agree that Plaintiffs have received all
salary, wages, accrued vacation, bonuses, commissions, overtime, meal breaks, rest breaks,
expense reimbursements, or other such sums due to Plaintiffs prior to the signing of this Agreement
other than amounts to be paid pursuant to this Agreement.

8. Release of Claims. In consideration for the payments provided for under the
Agreement, and for other good and valuable consideration, the receipt and sufficiency of which
Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 3 of 8

you hereby acknowledge, Plaintiffs fully and forever waive, release, acquit and discharge the
Company, as well as any and all of its past, current and future parent, subsidiary and affiliated
companies, predecessors and successors thereto, as well as their respective officers, directors,
agents, employees, affiliates, representatives, shareholders, assigns, and other affiliated or related
persons or entities, and all benefit plans sponsored by them or their insurers, successors, and
assigns (“Releasees”), from any and all legally waiveable claim, action, charge, complaint,
grievance and cause of action of whatever nature, whether now known or unknown, that exist or
may in the future exist arising from or relating to any event, act or omission from the beginning of
time until the date you sign this Agreement, including but not limited to the following:

(a) Claims related to your recruitment and hiring by the Company, your
employment with the Company, the terms and conditions of your employment and/or the
termination of your employment, including but not limited to, claims for bonuses or other pay,
claims of tort, breach of contract, breach of the covenant of good faith and fair dealing, wrongful
termination, discrimination, harassment, retaliation, violation of public policy, fraud, intentional
or negligent misrepresentation, defamation, personal injury, or infliction of emotional distress;

(b) Any whistleblower or retaliation Claims;

(c) Any Claims for attorneys’ fees and costs;

(d) Any statutory, civil, administrative, or common law claims, whether known
or unknown, suspected or unsuspected, fixed or contingent, apparent or concealed;

(e) Any claims arising from rights under federal, state, or local laws and
regulations, including but not limited any Claims relating to discrimination or harassment in your
employment based on race, color, religion, national origin, age, sex, gender, pregnancy, disability,
sexual orientation, gender identity, genetic information, military status, veteran status or other
classification protected by applicable federal, state or local law as enacted or amended, including
but not limited to any Claims brought under:

i. Title VII of the Civil Rights Act of 1964,
ii. Sections 1981 through 1988 of Title 42 of the United States Code,
iii. The Age Discrimination in Employment Act,
iv. The Older Workers Benefit Protection Act,
v. The Employee Retirement Income Security Act of 1971,

vi. The Equal Pay Act of 1963,
Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 4 of 8

vii. The Americans with Disabilities Act of 1990,
viii. The ADA Amendments Act of 2008,

ix. The Genetic Non-Discrimination Act

x. The Family and Medical Leave Act,

xi. The False Claims Act,
xii. The Immigration Reform and Control Act;
xiii. The National Labor Relations Act;

xiv. The Worker Adjustment Retraining and Notification Act and similar state and
local laws;

xv. Any state or local anti-discrimination statute, ordinance or other law, including,
but not limited to, the Florida Civil Human Rights Act, as amended, Fla. Stat. Ann. §§ 760.01 et
seq.; Florida AIDS Act, Fla. Stat. Ann. §§ 760.50 et seq.; Florida Wage Discrimination Law, as
amended, Fla. Stat. Ann. § 725.07; Florida Discrimination against Education Employees, Fla.
Stat. Ann. § 1000.05; Florida Discrimination Against Military Personnel, Fla. Stat. Ann. §
250.481 to 250.482; Florida Statutory Provision Regarding Retaliation/Discrimination for Filing
a Workers Compensation Claim, Fla. Stat. Ann. § 440.205; Florida False Claims Act, Fla. Stat.
Ann. §§ 68.081 et seq.; Whistleblower's Act, Fla. Stat. Ann. §§ 112.3187 et seq.; Wage Payment
Laws, Fla. Stat. Ann. §§ 448.109 to 448.110; and any Claims for retaliation under any such laws.

9. Resolution of all Claims. Plaintiffs acknowledge that this Agreement resolves all
legal Claims they may have against the Releasees as of the date of this Agreement, whether known
or unknown, to the maximum extent the law permits such Claims to be released. It is understood
and agreed that Plaintiffs expressly waive any and all rights that they may have under any state or
local statute, executive order, regulation, common law and/or public policy relating to unknown
claims.

10. No Participation in Proceedings. Plaintiffs agree to refrain from voluntarily
participating in, or assisting others in, any proceedings against the Company, except that this
Agreement does not bar Plaintiffs from participating in or otherwise providing information to a
governmental agency or from providing testimony, as required by subpoena, in a court of
competent jurisdiction or by law. Plaintiffs do not release any right or claim that they may have to
participate in any proceedings before an administrative agency responsible for enforcing labor
and/or employment laws. Noting in this Agreement shall be construed to limit Plaintiffs’ rights to
participate in administrative proceedings before the EEOC or the NLRB or to provide information
to any agency responsible for enforcing unemployment compensation laws.
Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 5 of 8

11. Time for Consideration. Ortiz acknowledges that he has the right to take at least 21
days to consider this Agreement and Release prior to entering into it. Ortiz further acknowledge
that they have the right to revoke this Agreement and Release within 7 days of its execution by
giving written notice of such revocation by hand delivery or fax within said 7-day period to the
Company (Attention: Gena Ashe), and that if he does exercise this right, this Agreement and
Release shall be null and void. Because of this revocation period, the Company and you agree that
this Agreement and Release will be “effective” on the 8" day after its execution by all parties,
provided that you have not timely delivered to the Company written notice of your revocation.

12. Release of Unknown Claims. Plaintiffs agree and represent that it is within their
contemplation that they may have claims against the Releasees of which, as of the date they sign
this Agreement and Release, they have no knowledge or suspicion, but agree and acknowledge
that this Agreement and Release extends to all claims in any way based upon, connected with or
related to their employment with the Company, whether or not known, claimed or suspected by
them.

13. No Other Pending or Future Lawsuits. Plaintiffs represent that other than the
abovementioned Claim, Plaintiffs have not filed any lawsuits, administrative complaints or made
any other charges, either in their names or on behalf of any other person or entity, against the
Company in any local, state or federal court or with any local, state, federal or administrative
agency. Plaintiffs further represent that Plaintiffs will not bring any action in the future in which
Plaintiffs seek to recover any damages from the Company relating to or arising from Plaintiffs’
employment with the Company prior to the signing of this Agreement, other than an action to
enforce Plaintiffs’ rights under this Agreement. If any organization (governmental or
nongovernmental) brings an action against the Company for any reason, and any money or other
benefit is given to Plaintiffs as a result of the action, Plaintiffs agree to give the proceeds of said
action given to the Plaintiffs to the Company.

14. No Future Employment. Plaintiffs agree that they will not be reemployed by the
Company, or any parent, affiliates or subsidiaries now or in the future and that they will not
knowingly apply for or otherwise seek employment with Company and or any parent, affiliates, or
subsidiaries now or in the future.

15. Confidentiality. Plaintiffs represent that they have not disclosed and agree to
maintain in confidence the contents and terms of this Agreement, the consideration for this
Agreement, and any allegations relating to the Company, including its officers, managers and
employees (hereinafter collectively referred to as “Settlement Information”), unless otherwise
mandated by law. Plaintiffs agree to take every reasonable precaution to prevent disclosure of any
Settlement Information to third parties, and agree that there will be no publicity, directly or
indirectly, concerning any Settlement Information. Plaintiffs agree to take every precaution to
disclose Settlement Information only to those attorneys, accountants, governmental entities, and
family members who have a reasonable need to know of such Settlement Information. Plaintiffs
agree that, if asked, Plaintiffs may state that the matter has been resolved.
Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 6 of 8

16. No Knowledge of Wrongdoing. Plaintiffs represent that they have no knowledge
of any wrongdoing involving a federal or state governmental agency, or any other wrongdoing that
involves Plaintiffs or other present or former Company employees.

17. Costs. The Parties shall each bear their own attorneys’ fees and other fees incurred
in connection with this Agreement.

18. Authority. The Company represents and warrants that the undersigned has the
authority to act on behalf of the Company and to bind the Company and all that may claim through
it, to the terms and conditions of this Agreement. Employee represents and warrants that Employee
has the capacity to act on Employee’s own behalf, and on behalf of all others, to bind them to the
terms and conditions of this Agreement. Each party warrants and represents that there are no liens
or claims of lien, or assignments in law or equity or otherwise, of or against any of the claims or
causes of action released herein.

19. | NoRepresentations. Ortiz and Vargas represent that they have had the opportunity
to consult with their attorney, and have carefully read and understand the scope and effect of the
provisions of this Agreement. Ortiz and Vargas represent that this Agreement was translated or
interpreted to each of them in Spanish or their native language and that they each understand and
comprehend all interpretations or translations. Neither Ortiz nor Vargas has relied upon any
representations or statements made by the Company hereto which are not specifically set forth in
this Agreement.

20. Severability. In the event that any provision hereof becomes or is declared by a
court of competent jurisdiction or an arbitrator to be illegal, unenforceable or void, this Agreement
shall continue in full force and effect without said provision.

21. Entire Agreement. This Agreement constitutes the entire agreement and
understanding between the Parties concerning the subject matter of this Agreement and all prior
representations, understandings, and agreements concerning the subject matter of this Agreement
have been merged into this Agreement.

22. Final and Binding. This Agreement shall be binding upon the Parties and upon
their heirs, administrators, representatives, executors, successors, and assigns, and shall inure to
the benefit of said Parties and each of them and to their heirs, administrators, representatives,
executors, successors, and assigns. Plaintiffs expressly warrant that they have not transferred to
any person or entity any rights, causes of action, or claims released in this Agreement.

23. Plain Meaning. This Agreement shall be construed according to its plain meaning
and not strictly for or against Plaintiffs or the Company.

24. No Waiver. The failure of any party to insist upon the performance of any of the
terms and conditions in this Agreement, or the failure to prosecute any breach of any of the terms
and conditions of this Agreement, shall not be construed thereafter as a waiver of any such terms
or conditions. This entire Agreement shall remain in full force and effect as ifno such forbearance
or failure of performance had occurred.
Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 7 of 8

25. | No Oral Modification. Any modification or amendment of this Agreement, or
additional obligation assumed by either party in connection with this Agreement, shall be effective
only if placed in writing and signed by all Parties or by authorized representatives of each party.
No provision of this Agreement can be changed, altered, modified, or waived except by an
executed writing by the Parties.

26. Governing Law. This Agreement shall be deemed to have been executed and
delivered within the State of Florida, and it shall be construed, interpreted, governed, and enforced
in accordance with the laws of the State of Florida, without regard to the State of Florida’s conflict
of law principles.

27. Attorneys’ Fees. In the event that either Party brings an action to enforce or affect
any rights under this Agreement, the prevailing party shall be entitled to recover costs and
expenses, including the costs of mediation, arbitration, litigation, and court fees, plus reasonable
attorneys’ fees, incurred in connection with such an action.

28. Counterparts. This Agreement may be executed in counterparts, and each
counterpart shall have the same force and effect as an original and shall constitute an effective,
binding agreement on the part of each of the undersigned.

29. Voluntary Execution of Agreement. This Agreement is executed voluntarily and
without any duress or undue influence on the part or behalf of the Parties hereto, with the full intent
of releasing all claims. The Parties acknowledge that:

(a) they have read this Agreement;

(b) they have been represented in the preparation, negotiation, and execution of
this Agreement by legal counsel of their own choice or that they have voluntarily declined to seek
such counsel;

(c) they understand the terms and consequences of this Agreement and of the
releases it contains; and

(d) they are fully aware of the legal and binding effect of this Agreement.

IN WITNESS WHEREOF, the Parties have executed this Agreement on the respective
dates set forth below.

Dated: March 21, 2016 Valley Crest Landscape Maintenance, Inc.

wR

Charlie Vizoso, VPGM
Case 1:15-cv-24547-UU Document 23-1 Entered on FLSD Docket 04/21/2016 Page 8 of 8

AGREED-TO-AND-APPROVED:
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ZANDRO E.PALMA ( Attorney for the

 

 

Plaintiffs)

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KELVIN X. VARGAS
